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                                          June 12, 2019


Via ECF
The Honorable Janet Bond Arterton
United States District Court
for the District of Connecticut
Richard C. Lee United States Court House
141 Church Street
New Haven, CT 06510

       Re:     Strauch, et al v. Computer Sciences Corporation,
               Case No.: 3:14-cv-00956 (JBA)

Dear Judge Arterton:

        Plaintiffs request a short telephonic status conference at which the Court and parties can
discuss how to resolve a discrete dispute regarding the Special Master’s data extraction and audit
process. Specifically, the parties have a disagreement about how much and when defendant
Computer Sciences Corporation (“CSC”) will pay for the time and costs spent by Plaintiffs’
forensic expert, iDiscovery Solutions, Inc. (“iDS”); the dispute does not relate to the substance of
the Special Master’s findings or the amount of money CSC owes the Class Members. 1
Therefore, Plaintiffs request an opportunity to discuss whether this discrete issue should be
determined by the Special Master.

       As the Court is aware, on January 18, 2019, the Court ordered CSC to pay Plaintiffs’
expert’s fees and costs. ECF No. 487 (Endorsement and Scheduling Order). From February 1
through April 30, 2019, iDS performed $199,622 in work on the data extraction and auditing
process (with additional work performed during May 2019 that has not yet been billed to CSC).
On March 26, May 8, and May 28, 2019, Plaintiffs sent iDS’s invoices to CSC for payment. On
May 17, Plaintiffs realized that CSC had not paid any of the invoices and asked CSC for an
explanation. On May 24, CSC complained, for the first time, that iDS’s work exceeded the
scope of services contemplated by the Court’s order. CSC stated that it will not pay iDS for its
work until ordered to do so by a decisionmaker.

        The Special Master has concluded that iDS’s work “has been critical to verifying the data
restored and produced during this process,” ECF No. 503 (Special Master’s Report &


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       Plaintiffs will respond separately to the Special Master’s May 31, 2019 Report and
Recommendation (ECF No. 503) by the June 17, 2019 deadline and to CSC’s anticipated
response thereto by the June 28, 2019 deadline set by the Court (see ECF No. 506).
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Recommendation) at 8-11, helping the parties “find a way back to reasonably trustworthy
databases,” ECF No. 493 (Transcript of Telephonic Status Conference held on January 18, 2019)
at 40. The Special Master also found that “much of [iDS’s work was] performed under the
oversight of the Special Master” and “[t]he Special Master has had hours of direct involvement
with Plaintiffs’ expert(s) and has seen many e-mails, reports, and supporting documentation
prepared by iDS during the data retrieval and exchange process.” Id. at 10-11.

       However, it is unclear how the question of payment should be adjudicated. The Special
Master noted that, given the May 31, 2019 deadline for his report, “a decision on the
reasonableness of the invoices for the work performed and the fees charged by iDS will require
additional inquiry and/or evidence, whether by the Special Master or the Court.” Id. at 11.

        Therefore, Plaintiffs request an opportunity to discuss with the Court and CSC as soon as
feasible whether the Court should delegate the authority to conduct this discrete inquiry to the
Special Master.


                                             Respectfully submitted,




                                              Jahan C. Sagafi

cc: All counsel via ECF
